Case 4:07-cV-00171 Document 17 Filed in TXSD on 04/30/07 Page 1 of 4

CAUSE NO. H-07-0171

NoRA soTo GUTIERREZ, § IN THE UNITED sTATES
PLAINTIFF §
§
uNmsn sTATEs co
§ souTH URT"'
v. § DISTRICT C0URT ERN D¢;ls¢§dcT oF TEXAS
§
§ APR 3 0 2007
sUsAN EISENER HIATT, §
sYLvIA R. GARCIA and § m,_ n
PATRICE BARRoN, § mt °"ERK°F°°URT
I)EFENDANTS § HoUSToN DIVISIoN

DEFENDANT, PATRICE BARRON’S ANSWER
TO PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

Defendant, Patrice Barron provides the following answer.

l. Defendant denies the allegations in Paragraph l of Plaintist Complaint.

2. Defendant denies the allegations in Paragraph 2 of Plaintift` s Complaint.

3. Defendant denies all other allegations in Plaintift` s Complaint.
AFFIRMATIVE DEFENSES

l. PlaintifF s claims are barred by collateral estoppel.

2. Plaintiff’s claims are barred by res judicata.

3. Plaintiff’s claims are barred by Waiver.

4. Plaintifl`s claims are barred by estoppel.

5. Plaintiff’ s claims are barred by the applicable statute of limitations

6. Plaintist Complaint fails to state a cause of action and should be dismissed

pursuant to Rule (lZ(b)(6).

HOUSTON: 960000.40000: l l73446vl

Case 4:07-cV-00171 Document 17 Filed in TXSD on 04/30/07 Page 2 of 4

WHEREFORE PREMISES C()NSIDERED, Defendant prays that this Court

enter judgment in her favor and for such other and further relief to which she may be

entitled.

HOUSTON; 960000.40000: l l73446v1

Respectfully submitted,

C\ vM///\ ihUCM/WM

Craig L. e lnstock

State Bar No. 21097300

Southem Distn`ct of Texas No. 4424
3400 JPMorgan Chase Tower

600 Travis

Houston, Texas 77002

(713) 226-1200

(713) 223-3717 (Facsimile)

ATTORNEY FOR DEFENDANT,
PATRICE BARRON

Case 4:O7-cV-00171 Document 17 Filed in TXSD on 04/30/07 Page 3 of 4

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of Defendant, Patrice Barron’s Answer to
Plaintiff’s Original Petition was served this 30th day of April, 2007 to all known parties of
record:

vIA E-MAIL and cERTIFIED MAlL
RETURN REch>T REQuEsTED 7100 2039 1541 0009 6310
Nora Soto Gutierrez

5030 Kasper Street
Corpus Christi, Texas 78415

ngharrah@yahoo.com

Craig L. Weinst`dck ix OO.HQ \c( 3

 

HOUSTON: 96000().40000: l l73446v1

Case 4:O7-cV-00171 Document 17 Filed in TXSD on 04/30/07 Page 4 of 4

LOCKE LIDDELL & SAPP LLP

ATroRNEYs & COUNSELORS
3400]PM0RGAN CHASE TOWER (713) 226-1200
600 TRAvls STREET Fax: (713) 223~3717
HOUSTON, TEXAS 77002-3095 AUsTiN c DALLAs o HoUs'roN ~ NEw ORLEANS 0 WAsHiNGToN, D.C. WWW-lOCk€lidd€ll-Com
Di_rect Number: (713) 226-1320
email: cweinstock@lockeliddell.com
April 30, 2007

UN|TED STATES COURTS
SOUTHERN D|STR|CT OF TEXAS
FlL-»"ED

Michael H. Milby, Clerk APR 3 0 2007
United States District Court
515 Rusk Avenue

mann n mem c 1
Houston, rean 77002 ERK QF COuRT

Re: Cause No. H-07-017l; Nora Soto Gutierrez v. Susan Eisener Hiatt, Sylvia R.
Garcia and Patrice Barron; In the United States District Court, Houston Division

Dear Mr. Milby:

Enclosed for filing among the papers of the above-captioned cause is the original and two
copies of Defendant Patrice Barron’s Answer to Plaintiff’s Original Petition.

Very truly yours,
C\;M© [_ d … l w

Craig L. Weinstock

CLW/cjg

Enclosure

cc: le E-MAlL and cERTIFlED MAlL
RETURN RECE!PT REQUESTED 7100 2039 1541 0009 6310
Nora Soto Gutierrez
5030 Kasper Street

Corpus Christi, Texas 78415
ngharrah@yahoo.com

HOUSTON: 960000.40000‘. 117363 5vl

